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19                              UNITED STATES DISTRICT COURT
20                            NORTHERN DISTRICT OF CALIFORNIA

21   CHASOM BROWN, WILLIAM BYATT,                      Case No.: 4:20-cv-03664-YGR-SVK
     JEREMY DAVIS, CHRISTOPHER
22   CASTILLO, and MONIQUE TRUJILLO                    DECLARATION OF BILL CARMODY
     individually and on behalf of all other similarly ISO PLAINTIFFS’ MOTION FOR AN
23   situated,                                         AWARD OF ATTORNEYS’ FEES,
24                                                     COSTS, AND SERVICE AWARDS
                           Plaintiffs,
         v.                                            Judge: Hon. Yvonne Gonzalez Rogers
25                                                     Date: August 7, 2024
26   GOOGLE LLC,                                       Time: 2:00 p.m.
                           Defendant.                  Location: Courtroom 1 – 4th Floor
27

                    Declaration of Bill Carmody ISO Plaintiffs’ Motion for an Award of
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 1                              DECLARATION OF BILL CARMODY
 2          I, Bill Carmody, declare as follows:
 3          1.      I am a partner with the law firm of Susman Godfrey LLP. I am licensed to practice
 4   before all courts of the State of New York and am admitted pro hac vice in this matter. Dkt. 17.
 5   I am a 1988 graduate of the University of Tulsa College of Law and a 1981 graduate of the United
 6   States Merchant Marine Academy.
 7          2.      I make this declaration in support of Plaintiffs’ Motion for an Award of Attorneys’
 8   Fees, Costs, and Service Awards (the “Motion”).
 9          3.      I have personal knowledge of the matters addressed in this declaration. If called
10   as a witness to testify, I could and would testify competently to the following facts.
11          4.      This declaration introduces the Susman Godfrey professionals who worked on
12   this case and summarizes the fees and costs that Susman Godfrey incurred.
13                  1.      Susman Godfrey Professionals
14          5.      The Susman Godfrey lawyers who worked on this case include partners Bill
15   Carmody, Marc Seltzer, Shawn Rabin, Amanda Bonn, Ian Crosby, Steven Shepard, Jenna
16   Farleigh, and Steven Seigel, associates Alexander Frawley, Ryan Sila, and Amy Gregory, and
17   staff attorneys Nicholas Donofio, Brittany Galvan, Mary O’Brien, and Neha Singh. Below, I
18   provide an overview of each attorney’s background and describe his or her role in this case.
19          6.      Bill Carmody: Mr. Carmody is a nationally recognized trial lawyer who tries
20   cases for plaintiffs and defendants in state and federal courts throughout the country. He is a
21   permanent member of Susman Godfrey’s Executive Committee and heads its New York office.
22          7.      Mr. Carmody has personally led many large and successful class actions. Recent
23   examples include representing Yale University, the City of Baltimore, and the purchasers of
24   trillions of dollars in LIBOR-based financial products, where he led the charge against 16 of the
25   world’s largest banks, having won certification of a national litigation class and already settled
26   with a number of the banks for $781 million.
27

28                                                  1
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 1          8.       While LIBOR was moving forward, Mr. Carmody and his team also recovered
 2   $220 million for a class of municipalities suing 10 banks and brokers for rigging municipal
 3   derivative auctions. In re: Municipal Derivatives Antitrust Litig., Case No. 08-md-2516
 4   (S.D.N.Y.).
 5          9.       Outside of the class action context, Mr. Carmody has secured victories for both
 6   plaintiffs and defendants in complex commercial cases. In the Novartis qui tam litigation, Mr.
 7   Carmody secured settlements totaling $465 million in an anti-kickback case—the largest
 8   recovery ever in a case of its kind. On the defense side, in the Fairfax litigation, where an
 9   insurance company sought $8 billion in damages from short sellers for allegedly conspiring to
10   bring down the price of Fairfax’s stock, Mr. Carmody and his team secured a full dismissal of
11   Susman Godfrey’s clients on summary judgment.
12          10.      For decades, Mr. Carmody has also tried bet-the-company cases all around
13   America on both sides of the “v.”. In February 2018, Uber was defending itself against trade-
14   secret claims by Google/Waymo seeking roughly $2 billion in its first case to be set for trial. Just
15   months before trial, Uber hired Mr. Carmody, deciding it “was important to have someone in the
16   leading position who was a pure trial lawyer—someone whose core skill was persuading a lay
17   jury in a complex business case.” 1 Four days after he gave public and sealed opening statements,
18   and after Mr. Carmody and his team crossed the plaintiff’s witnesses, Uber settled the case for a
19   fraction of what Google/Waymo sought.
20          11.      Only two-and-a-half months before the Uber trial, on the other side of the country,
21   Mr. Carmody tried a contract case on the plaintiff’s side for General Electric in the Southern
22   District of New York, where the jury sided unanimously with GE and the court entered a
23   judgment valued at over $160 million.
24

25

26   1
      Christine Simmons, Attorney of the Year Finalist: Bill Carmody, N.Y.L.J., Oct. 5, 2018,
     https://www.susmangodfrey.com/wp-content/uploads/2018/10/SG-Carmody-Video.pdf.
27

28                                                    2
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 1            12.    Mr. Carmody’s experience isn’t limited to any single area of law or type of case,
 2   and clients routinely bring him in on the eve of trial. In one case, Mr. Carmody was hired just 6
 3   days before trial to defend an insurer in a bet-the-company class action—and secured a
 4   unanimous jury verdict for his client. 2
 5            13.    Mr. Carmody is a member of the American Board of Trial Advocates, a fellow of
 6   the Litigation Counsel of America, and a fellow of the American Bar Foundation. He is listed in
 7   The Best Lawyers in America in seven categories, including Bet-the-Company Litigation. He is
 8   also listed in Who’s Who Legal in Commercial Litigation. His peers have voted him both a “New
 9   York Super Lawyer” and a “Texas Super Lawyer,” and he’s listed in The Legal 500, in addition
10   to being selected among America’s Top 100 High Stakes Litigators by America’s Top 100. Mr.
11   Carmody was honored by Law360 as one of its 10 Titans of the Plaintiffs Bar. He is also
12   perennially listed in the Lawdragon 500, and was lauded as one of Lawdragon’s 41 Legal
13   Legends. Mr. Carmody was a top three finalist in 2018 for the New York Law Journal’s Attorney
14   of the Year. In 2019, Lawdragon selected Mr. Carmody as one of its Leading Plaintiff Financial
15   Lawyers and The National Law Journal selected him as one of its Masters of the Courtroom –
16   Winning Litigators. In 2021, 2022 and 2023, Benchmark placed Mr. Carmody on its shortlist –
17   of five to six lawyers – for National Trial Lawyer of the Year.
18            14.    For this case, Mr. Carmody was appointed co-lead class counsel along with David
19   Boies from Boies Schiller Flexner and John Yanchunis from Morgan and Morgan. Together, they
20   were responsible for overseeing all aspects of the case and overall strategy. Mr. Carmody also
21   took an active role in trial preparation, including by overseeing mock jury exercises and preparing
22   to take on a lead role at trial. Mr. Carmody also helped lead mediation efforts, attending numerous
23   sessions with Judge Layn Phillips (the parties’ mediator) and counsel for Google.
24            15.    Marc Seltzer: Mr. Seltzer is a partner in Susman Godfrey’s Los Angeles office.
25   He has practiced law for more than fifty years, litigating complex cases in state and federal courts
26

27   2
         Big Suits, “Beller et al. v. William Penn,” The American Lawyer, Sept. 2007.
28                                                      3
                      Declaration of Bill Carmody ISO Plaintiffs’ Motion for an Award of
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 1   throughout the United States. Before joining Susman Godfrey, he was a principal in the law firm
 2   of Corinblit & Seltzer, a Professional Corporation. In February 1998, Mr. Seltzer became a
 3   partner of the firm, and opened the firm’s Los Angeles office.
 4          16.     Mr. Seltzer’s involvement in nationally prominent litigation began in the mid-
 5   1970’s, when he was tapped by Jack Corinblit to work on the massive Equity Funding securities
 6   litigation. That case consisted of more than 100 consolidated class and individual cases, and was
 7   settled in 1976 for over $60 million, then the largest recovery ever achieved in a securities fraud
 8   class action. See In re Equity Funding Corp. of America Securities Litigation, 438 F. Supp. 1303
 9   (C.D. Cal. 1977). Later, in the 1980’s, Mr. Seltzer was appointed by the Los Angeles federal
10   court to serve as sole lead counsel to represent the plaintiff class in the ZZZZ Best securities fraud
11   case. The ZZZZ Best fraud was described by the United States Attorney for the Central District
12   of California as “the most massive and elaborate securities fraud perpetrated on the West Coast
13   in over a decade,” harking back to the Equity Funding case. The case resulted in several
14   important published decisions sustaining plaintiffs’ claims. See In re ZZZZ Best Securities
15   Litigation, 864 F. Supp. 960 (C.D. Cal. 1994).
16          17.     Since joining the firm, Mr. Seltzer has continued to represent both plaintiffs and
17   defendants in a wide variety of high stakes cases. Among other prominent cases, Mr. Seltzer
18   served as co-trial counsel with Steve Susman in representing Frank McCourt in his marital
19   property litigation with his former wife which involved competing claims to ownership of the
20   Los Angeles Dodgers. In 2015, Mr. Seltzer successfully argued the appeal taken by Ms. McCourt
21   from the order denying her motion to set aside the settlement reached in that case.
22          18.     In the In re Toyota Motor Corp. Unintended Acceleration Marketing, Sales
23   Practices, and Products Liability Litigation, Mr. Seltzer was appointed by the Court to serve as
24   one of the co-lead counsel for the economic loss class action plaintiffs. After three years of hard
25   fought litigation, an historic settlement was reached valued by the Court at approximately $1.6
26   billion, with the class receiving net benefits valued at approximately $1.4 billion.
27

28                                                   4
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 1          19.     Mr. Seltzer is currently leading Susman Godfrey’s efforts as one of co-lead
 2   counsel for plaintiffs in In re Automotive Parts Antitrust Litigation, pending in the Detroit federal
 3   court. The United States Department of Justice has called the cartels that are the subject of this
 4   litigation the largest group of price-fixing conspiracies ever uncovered. The cases have been
 5   settled for more than a billion dollars.
 6          20.     Since 2019, Mr. Seltzer has been named one of the “Thought Leaders in
 7   Competition – Plaintiff” by Who’s Who Legal (Law Business Research Ltd). Mr. Seltzer is one
 8   of only very few lawyers in the United States to receive this distinction. From 2020 through
 9   2023, Mr. Seltzer was named one of California’s “Top Antitrust Lawyers” by the Los Angeles
10   Daily Journal. In 2018, Mr. Seltzer was named one of thirty “Top Plaintiffs Lawyers” and one
11   of the “Top 100 Lawyers” in California by the same publication. He was named a “Top Plaintiffs
12   Lawyer” again in 2022. Mr. Seltzer was honored twice in late 2017 for his ground-breaking
13   antitrust work. In December, 2017, he was named an “Competition MVP” by Law360 and
14   in September 2017, and he was named a “Giant Slayer” by The Recorder (ALM Publication).
15   These honors were in large part due to his leadership roles in In re: Auto Parts and In re
16   Animation Workers Antitrust Litigation, the latter in which Mr. Seltzer took on the world’s
17   largest animation companies, including Disney, Pixar, Lucasfilm Ltd., Dreamworks and Sony,
18   on behalf of animation employees and recovered nearly $170 million. In December 2013, Mr.
19   Seltzer was named to Law360’s annual list of legal “MVPs.” He was one of just three attorneys
20   in the nation selected by Law360 for recognition in the Class Action category. He has also
21   been named to the International Who’s Who of Competition Lawyers & Economists.
22          21.     Mr. Seltzer’s many significant class action achievements helped secure Susman
23   Godfrey’s recognition as Law360’s “Class Action Group of the Year” in 2017, 2018 and 2024.
24          22.     Over his many years of practice, Mr. Seltzer has also represented defendants in
25   antitrust, securities, copyright, trademark, trade secret, unfair competition, class action and other
26   complex litigation.
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28                                                   5
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 1          23.     Mr. Seltzer served in an advisory role for this case, drawing on his substantial
 2   class action experience to provide key advice for Plaintiffs at various stages of the case, including
 3   class certification and settlement.
 4          24.     Amanda Bonn. A graduate of Stanford Law School and a partner in Susman
 5   Godfrey’s Los Angeles office, Ms. Bonn has litigated high-stakes lawsuits on behalf of plaintiffs
 6   and defendants, from discovery, through trial, and on appeal, in practice areas ranging from class
 7   actions to intellectual property matters.
 8          25.     Ms. Bonn has been recognized as an Up-and-Coming Commercial Litigator in
 9   California by Chambers & Partners (2021, 2022, and 2023), one of the 100 Top Women Lawyers
10   in California by the Daily Journal (2021), a Leading Lawyer—General Commercial Disputes by
11   The Legal 500 (2022-2023), one of 500 Leading Plaintiff Financial Lawyers (2019-2023) and
12   500 Leading Litigators (2022-2023) by Lawdragon, a Litigation Trailblazer by the National Law
13   Journal (2020), and a member of Benchmark Litigation’s “40 and Under Hot List” (2018-2023).
14   Chambers reports that clients and other lawyers have described her as follows:
15                  •   “She’s an extraordinary individual. She’s the best to work with, and is a smart,
                        nimble and dedicated lawyer.”
16
                    •   “Amanda’s work is superb. She’s a very gifted legal thinker, writer and oral
17                      advocate.”
18                  •   “She’s whip-smart, very practical, and easy to work with.”
19          26.     Ms. Bonn is experienced in managing all high-stakes and complex commercial
20   litigation and arbitration matters and class actions, from discovery and motion practice, through
21   trial, and on appeal.
22          27.     Upcoming and Recent Trials and Appeals:
23                  A. In June 2024, Ms. Bonn is slated to try a multi-billion-dollar antitrust class
24                      action against the National Football League before Judge Gutierrez in the
25                      Central District of California.
26                  B. In June 2022, Ms. Bonn successfully tried a multi-billion-dollar arbitration
27                      between Flutter International and FOX regarding (i) FOX’s option to purchase
28                                                   6
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 1                 a stake in Flutter’s subsidiary FanDuel, the leading online betting platform in
 2                 the United States, and (ii) FOX’s claim that Flutter breached an agreement by
 3                 failing to provide “commercially reasonable resources” to betting platform
 4                 FOX Bet. Ms. Bonn handled the entirety of the FOX Bet component of the
 5                 case, delivering opening statements, cross-examining FOX’s technical expert,
 6                 and presenting Flutter’s technical expert and the President of its International
 7                 Division on direct examination. Ms. Bonn secured a complete victory for
 8                 Flutter on the FOX Bet claim, with the arbitrator finding that “the evidence
 9                 presented at the Arbitration Hearing established overwhelmingly that . . .
10                 Flutter has in fact invested disproportionate resources well beyond any
11                 measure of commercial reasonableness,” and concluding that FOX’s claim
12                 was “meritless.”
13              C. In 2019, an NBCUniversal subsidiary lost a claim against its insurer Atlantic
14                 Specialty Insurance Company at summary judgment in a case involving
15                 whether Hamas’s bombing of Israeli civilian targets in 2014 constituted a
16                 “war” or “terrorism.” NBCUniversal hired Ms. Bonn to turn the case around
17                 and she did: briefing, arguing, and winning a complete reversal in an appeal
18                 to the Ninth Circuit. Following remand, the case settled the night before a trial
19                 in which Ms. Bonn served as co-lead trial counsel and was prepared to deliver
20                 closing arguments.
21              D. In 2018, Ms. Bonn delivered the opening statement in a trade secret
22                 misappropriation jury trial on behalf of defense contractor KBRWyle—
23                 winning a defense verdict on the plaintiff’s trade secret claim and resulting in
24                 the case settling for less than 1% of the damages plaintiffs sought.
25     28.      Management of Complex Class Actions and Multi-Party Cases:
26              A. While this case has been pending, Ms. Bonn defended the world’s leading
27                 commodity trading firm, Vitol Inc., in antitrust cases brought by the California
28                                              7
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 1                      Attorney General, as well as a related federal class action, alleging a
 2                      conspiracy to inflate California gasoline prices over a two-year period. Ms.
 3                      Bonn took an active role in overseeing discovery and arguing and briefing
 4                      dispositive motions. Following summary judgment briefing in the California
 5                      Attorney General’s suit and class certification briefing in the federal class
 6                      actions, both matters have recently settled. See In Re Cal. Gasoline Spot
 7                      Market Antitrust Litig., Case No. 3:20-cv-03131-JSC, Joint Case Management
 8                      Statement Dkt. No. 599 (Apr. 10, 2024) (noting the state matter settled and
 9                      the parties in the federal matter had reached a settlement in principle).
10                  B. Ms. Bonn also served as Susman Godfrey’s lead California counsel
11                      overseeing sprawling California False Claims Act litigation on behalf of
12                      dozens of California political subdivisions—including Los Angeles County,
13                      the Regents of the University of California, and the California State University
14                      system, to name a few—against the nation’s largest wireless carriers, AT&T,
15                      Verizon, and Sprint/T-Mobile in Sacramento Superior Court. After years of
16                      hard-fought litigation under Ms. Bonn’s leadership, Susman Godfrey
17                      achieved settlements that required the telecommunication giants to pay $138
18                      million to government entities in California and Nevada.
19          29.     Ms. Bonn supervised the day-to-day work of the Susman Godfrey team on this
20   case and was actively involved in all stages of this case, substantially contributing to all major
21   briefs and hearings and fulfilling her leadership role for all strategic decisions. Ms. Bonn briefed
22   and argued substantial portions of the motion to dismiss, motion for class certification, motion
23   for summary judgment, and various motions and other matters raised at the Pretrial Conference.
24   Ms. Bonn also helped lead Plaintiffs’ offensive discovery efforts, recruiting key testifying and
25   consulting experts, working on motions to compel, arguing at numerous discovery hearings, and
26   deposing key witnesses. Ms. Bonn was especially active in Plaintiffs’ trial preparation efforts,
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 1   including by taking a lead role in their mock jury exercises. And Ms. Bonn played a central role
 2   in the parties’ months-long mediation efforts.
 3          30.     Shawn Rabin. Mr. Rabin, a Partner in Susman Godfrey’s New York office and a
 4   member of the firm’s Executive Committee, is nationally recognized for his trial successes in
 5   complex cases. Mr. Rabin has been hired as trial counsel in some of the most high-profile cases
 6   across the United States. For example, Mr. Rabin was brought in as trial counsel months before
 7   trial to defend Match.com in a lawsuit filed by Sean Rad and other employees of Tinder. The
 8   case was one of the first in-person trials after the start of Covid and settled days before closing
 9   argument. Mr. Rabin was also trial counsel for Adam Neumann, founder of WeWork, in his
10   billion-dollar lawsuit against Softbank relating to his departure from WeWork. Along with Mr.
11   Carmody, Mr. Rabin also represented Uber in its high-stakes trial against Google/Waymo, where
12   Mr. Rabin was scheduled to cross-examine the star witness Anthony Levandowski two days after
13   the case ultimately settled. Mr. Rabin played key roles in major trial victories, including his direct
14   examination of liability experts and cross examination of defendants’ central fact witness in a
15   breach-of-contract trial on behalf of General Electric, resulting in a judgment valued at over $160
16   million.
17          31.     In 2023, Mr. Rabin was also lead trial counsel for PWN/Everly Heath in an
18   arbitration involving breach of contract and Lanham Act claims. After a week-long trial, the
19   arbitrator issued an award to Mr. Rabin’s client for $987,653,712. Mr. Rabin handles many other
20   cases in arbitration that remain confidential.
21          32.     Mr. Rabin also won a federal bench trial in the District of Puerto Rico while
22   representing the world’s largest retailer, who was challenging a local tax as violating the Dormant
23   Commerce Clause and the Equal Protection Clause. The federal district judge agreed with Mr.
24   Rabin, striking down the statute in a decision that was front-page news across the country. The
25   U.S. Court of Appeals for the 1st Circuit unanimously affirmed.
26          33.     Mr. Rabin is also one of few lawyers who has actually tried a class action to a jury
27   in the State of Kentucky. In 2011, Mr. Rabin tried a misclassification wage-and-hour class action
28                                                   9
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 1   before a Kentucky jury in a three-week trial—obtaining a complete defense victory on behalf of
 2   The Rawlings Company.
 3          34.     Mr. Rabin was also lead trial counsel for Trover Solutions in several class actions
 4   filed across the country relating to insurance subrogation. Mr. Rabin developed an approach to
 5   get the cases dismissed by defeating the named plaintiff’s claims before class certification.
 6   Several of the cases were then appealed and the U.S. Court of Appeals for the 3rd Circuit where
 7   they were unanimously affirmed.
 8          35.     In recognition of his successes, Chambers USA included Mr. Rabin in their 2020,
 9   2021, 2022 and 2023 exclusive rankings of Leading General Commercial Litigators in New
10   York. Lawdragon included Mr. Rabin on the Lawdragon 500 List of the Country’s Leading
11   Litigators in 2019, 2020, 2021, 2022, and 2023, ranked him as a Leading Plaintiff Financial
12   Lawyer in 2019, 2020, 2021, 2022, and 2023 while naming him among its 500 Leading Litigators
13   in 2022 and 2023. The National Law Journal named Mr. Rabin a “Plaintiffs’ Lawyer Trailblazer”
14   in 2018 and 2022 and Super Lawyers has recognized Mr. Rabin as a Super Lawyer in New York
15   from 2019 to 2023 (Thomson Reuters). The Best Lawyers in America® named Mr. Rabin as a
16   Top Commercial Litigation Lawyer in New York for Commercial Litigation in 2019, 2020 and
17   2021. (Woodward White Inc.).
18          36.     Mr. Rabin served in an advisory role for this case, drawing on his extensive
19   experience to provide input on strategic decisions throughout each stage of the litigation. At the
20   start of the case, Mr. Rabin was involved in litigation strategy and road-mapping the case toward
21   trial. And, given his trial experience, Mr. Rabin was also involved in Plaintiffs’ trial preparation
22   work, including their mock trial exercises.
23          37.     Steven Shepard: Mr. Shepard is a partner in Susman Godfrey’s New York office.
24   After graduating in 2007 from Yale Law School, Mr. Shepard clerked for the Hon. Alex Kozinski
25   on the Court of the Appeals for the Ninth Circuit, and for Associate Justice Anthony M. Kennedy
26   on the Supreme Court of the United States. He then served as a Lieutenant in the Navy’s Judge
27

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 1   Advocate General’s Corps for several years, trying dozens of cases before joining Susman
 2   Godfrey.
 3          38.     Mr. Shepard’s substantial experience includes his work representing the class of
 4   indirect purchasers in the nation’s largest indirect purchaser class action, In re Auto Parts, in
 5   which Susman Godfrey was appointed co-lead counsel. Mr. Shepard assisted the class in
 6   obtaining more than $1.2 billion in settlements in the case and in briefing and arguing key
 7   motions relating to the class notice procedures.
 8          39.     Mr. Shepard—along with Mr. Carmody and Ms. Bonn—also played a key role in
 9   the massive California False Claims Act case of State of California ex rel. OntheGo Wireless v.
10   Cellco Partnership. In Cellco, Mr. Shepard oversaw all aspects of the complex expert damages
11   analysis, which required reconstruction and alternative analysis of hundreds of thousands of
12   government employees’ cell phone usage and billing records. Mr. Shepard also secured
13   settlements of more than $450 million in a False Claims Act case against Novartis
14   Pharmaceuticals Corporation and other defendants, a $40.5 million settlement in a False Claims
15   Act case against Apria Healthcare Group, Inc., and a $50.3 million verdict for patent infringement
16   against Ardagh Group on behalf of Green Mountain Glass. Along with Mr. Rabin, Mr. Shepard
17   also secured a judgment for Walmart Inc. that Puerto Rico’s discriminatory transfer tax violated
18   the Dormant Commerce Clause—a trial victory unanimously affirmed by the First Circuit.
19          40.     Mr. Shepard was recognized by Lawdragon 500 as a Leading Litigator in 2022
20   and 2023, and as one of the nation’s “Leading Plaintiff Financial Lawyers” every year from 2019-
21   2023. He was also named a Super Lawyers Rising star for the New York Metro area every year
22   from 2016 through 2022, and he was named a Rising Star by the New York Law Journal in 2019.
23   Mr. Shepard was selected as one of Benchmark Litigation’s “40 and Under Hot List” in 2018.
24          41.     Mr. Shepard took an active role in the early stages of the case, including by
25   drafting Plaintiffs’ First and Second Amended Complaints and overseeing briefing on Google’s
26   motions to dismiss. Mr. Shepard also took an active role in briefing class certification.
27

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 1          42.     Ian Crosby: Mr. Crosby is a partner in Susman Godfrey’s Seattle office. In over
 2   twenty years of practice with Susman Godfrey, Mr. Crosby has represented corporations,
 3   universities, and individuals as plaintiffs and defendants in a wide variety of intellectual property
 4   and commercial disputes and transactions involving intellectual property, including patents, trade
 5   secrets, and copyrights. Mr. Crosby was recognized by U.S. News – The Best Lawyers in
 6   America® for Intellectual Property and Patent Litigation every year from 2018 through 2024.
 7   Mr. Crosby was also recognized by the National Law Journal in 2023 as an Intellectual Property
 8   Trailblazer. Mr. Crosby has been a national meeting presenter and panelist for the American
 9   Intellectual Property Association, and he is a recipient of the 2017 Editor’s Choice Award from
10   Managing IP.
11          43.     Before joining Susman Godfrey, Mr. Crosby clerked for the Honorable Robert
12   Boochever on the United States Court of Appeals for the Ninth Circuit, and for Chief Judge John
13   Coughenour on the United States District Court for the Western District of Washington. Mr.
14   Crosby holds a BA with a faculty commendation for excellence from Reed College, and a JD
15   with high honors from the University of Texas at Austin.
16          44.     Mr. Crosby took a lead role in expert discovery in this case, including by working
17   with Plaintiffs’ experts Jonathan Hochman (technical) and Bruce Schneier (privacy) on their four
18   expert reports. Mr. Crosby prepared them for their depositions and presented Mr. Schneier, and
19   Mr. Crosby was in the process of preparing expert trial examinations when the case settled. Mr.
20   Crosby also played a key role in preparing for Plaintiffs’ mock trial exercises, and he drafted
21   briefs for Plaintiffs, including a Daubert opposition and motions in limine.
22          45.     Jenna Farleigh. Ms. Farleigh is a partner in Susman Godfrey’s Seattle office. A
23   native of Anchorage, Alaska, Ms. Farleigh joined Susman Godfrey after completing federal
24   clerkships for Judge Ronald M. Gould and Judge Richard C. Tallman of the United States Court
25   of Appeals for the Ninth Circuit.
26          46.     Ms. Farleigh has represented both plaintiffs and defendants in a wide range of
27   high stakes litigation. In the last year alone, Ms. Farleigh represented several technology
28                                                 12
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 1   companies—both emerging and established—in litigation issues relating to contract and
 2   intellectual property, including web hosting provider, Peak Web Hosting; initial coin offering
 3   and digital investment expert, New Alchemy; and online insurance comparison provider,
 4   QuoteWizard. Ms. Farleigh is also representing defense-contractor Wyle Laboratories in a
 5   dispute involving contract and trade secret misappropriation claims in California state court.
 6          47.     Ms. Farleigh has deep experience in patent, copyright, and class action litigation.
 7   Her current and former clients include one of the nation’s leading patent holders, Two-Way
 8   Media; global oil company Hess Corporation; and a nationwide class of automobile owners who
 9   purchased vehicles containing parts involved in an antitrust price-fixing conspiracy.
10          48.     Ms. Farleigh has been recognized as part of The Next Generation of Leading
11   Lawyers by Lawdragon (2023), and was named a Rising Star by Washington Super Lawyers
12   every year from 2017-2022.
13          49.     For this case, Ms. Farleigh provided critical assistance during a busy time period
14   in fact discovery, working on privilege disputes and discovery tied to the Special Master process.
15          50.     Steven Seigel. Mr. Seigel is a partner in Susman Godfrey’s Seattle office. Mr.
16   Seigel joined Susman Godfrey after clerking for the Honorable David S. Tatel of United States
17   Court of Appeals for the D.C. Circuit, the Honorable James E. Boasberg of the United States
18   District Court for the District of Columbia, and the Honorable Richard G. Taranto on the United
19   States Court of Appeals for the Federal Circuit. His portfolio spans intellectual property and
20   patent litigation, breach of contract, environmental torts, ERISA, consumer privacy, and other
21   complex civil and commercial disputes.
22          51.     Mr. Seigel’s class action experience includes representing a certified class of
23   residents and property-holders suing DuPont and Chemours for contaminating their homes and
24   drinking water supplies with per- and poly-fluoroalkyl substances, or PFAS (known as “forever
25   chemicals”). Mr. Seigel has successfully briefed and argued critical motions, including class
26   certification, class appointment, motions to dismiss, and frequent discovery disputes. On
27   November 17, 2023, Seigel succeeded before the United States Court of Appeals for the Fourth
28                                               13
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 1   Circuit, which unanimously rejected DuPont’s and Chemours’ petition to appeal the lower
 2   court’s October 4, 2023 order granting Plaintiffs’ motion for class certification.
 3           52.     Mr. Seigel was an associate when this case was filed, and he was the first Susman
 4   Godfrey associate assigned to the case. Mr. Seigel was particularly active in the case’s early
 5   stages, driving Plaintiffs’ initial offensive discovery efforts and securing experts and consultants
 6   for Plaintiffs. Mr. Seigel also worked on Plaintiffs’ First Amended Complaint, which ultimately
 7   survived Google’s motion to dismiss in its entirety.
 8           53.     Alexander Frawley. Mr. Frawley is an associate in Susman Godfrey’s New York
 9   office. A graduate of the University of Pennsylvania Law School, Mr. Frawley clerked for the
10   Honorable Dennis Jacobs, United States Court of Appeals for the Second Circuit, and the
11   Honorable Katherine B. Forrest, United States District Court for the Southern District of New
12   York.
13           54.     Mr. Frawley individually drafted or co-drafted the majority of the briefs filed by
14   Plaintiffs, including Plaintiffs’ oppositions to Google’s motions to dismiss, Plaintiffs’ class
15   certification motion, Plaintiffs’ opposition to Google’s motion for summary judgment, Daubert
16   motions and oppositions, Plaintiffs’ sanctions motions, numerous discovery submissions and
17   Special Master submissions, and many of Plaintiffs’ pretrial filings. Mr. Frawley also argued a
18   portion of the motion to dismiss hearing, summary judgment hearing, pretrial conference, and at
19   many discovery hearings.
20           55.     Mr. Frawley took an active role in driving Class Counsel’s offensive discovery
21   efforts, including by frequently meeting and conferring with opposing counsel about disputes,
22   reviewing documents, selecting deponents, and preparing for depositions. Mr. Frawley
23   personally took five fact witness depositions, including of a belatedly disclosed witness relevant
24   to Plaintiffs’ sanctions motion. Mr. Frawley also took an active role in coordinating Plaintiffs’
25   expert discovery work. He worked with Plaintiffs’ experts Jonathan Hochman (technical), Bruce
26   Schneier (privacy), and Michael Lasinski (damages) on their expert reports, and he helped
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 1   prepare Mr. Hochman and Mr. Schneier for their depositions. Mr. Frawley personally deposed
 2   one Google expert and assisted colleagues with preparing for other expert depositions.
 3          56.     Ryan Sila: Mr. Sila is an associate in Susman Godfrey’s New York office. A
 4   graduate of New York University School of Law, he joined Susman Godfrey following
 5   clerkships with the Honorable Raymond J. Lohier, Jr., of the United States Court of Appeals for
 6   the Second Circuit, and the Honorable Jesse M. Furman, of the United States District Court for
 7   the Southern District of New York.
 8          57.     Mr. Sila contributed to all facets of this litigation, from fact discovery through
 9   pretrial preparation. With respect to fact discovery, Mr. Sila coordinated Plaintiffs’ response to
10   various disputes, in particular regarding challenges to Google’s privilege designations and
11   disputes related to Google’s preservation of data. Mr. Sila also contributed to Plaintiffs’ motions
12   for sanctions and attendant proceedings. Mr. Sila took an active role in the coordination of
13   Plaintiffs’ expert work, in particular as it relates to the opinions expressed by Mr. Hochman and
14   Mr. Schneier. Mr. Sila was a key contributor to Plaintiffs’ opposition to Google’s motion for
15   summary judgment. Mr. Sila also made significant contributions to Plaintiffs’ pretrial
16   submissions. Mr. Sila took a leading role in the drafting, negotiation, and briefing relating to jury
17   instructions, and he briefed and argued motions in limine filed by both parties. Mr. Sila also
18   consulted on various other matters and overall case strategy.
19          58.     Amy Gregory: Ms. Gregory is an associate in Susman Godfrey’s New York
20   office. A graduate of Columbia Law School, she joined Susman Godfrey following a clerkship
21   with the Honorable Dennis Jacobs, United States Court of Appeals for the Second Circuit.
22          59.     Ms. Gregory was actively involved in the case’s early stages, working on
23   offensive discovery issues including in particular Plaintiffs’ challenges to Google’s privilege
24   designations. Ms. Gregory also took an active role in the early stages of the special master
25   process.
26          60.     Brittany Galvan. Ms. Galvan is a staff attorney based in Susman Godfrey’s
27   Houston office She received her law degree from the University of Texas School of Law in May
28                                                 15
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 1   2021. Prior to attending law school, she worked as a paralegal in the Money Laundering Division
 2   of the Harris County District Attorney’s Office. Additionally, she served in a variety of leadership
 3   positions with the Texas Army National Guard and received an honorable discharge. During law
 4   school, Ms. Galvan served as an Associate Editor of the Texas Hispanic Journal of Law and
 5   Policy and a teaching assistant for Professor Carly Toepke.
 6          61.     In this case, Ms. Galvan was responsible for reviewing documents produced by
 7   Google in discovery. She also assisted with other projects, including by helping to prepare
 8   outlines for depositions and conducting case law research for pleadings.
 9          62.     Mary O’Brien. Ms. O’Brien is a staff attorney based in Susman Godfrey’s
10   Houston office. Ms. O’Brien, a graduate of The University of Oklahoma, College of Law, began
11   her career as a Staff Attorney at Susman Godfrey in the spring of 2022. During law school, Ms.
12   O’Brien worked as a teaching and research assistant to Professor Rick Tepker, and served as a
13   Director on the OU Board of Advocates. Ms. O’Brien graduated Summa Cum Laude from Texas
14   A&M University in 2018 with a Bachelors of Arts in History, and was a Junior Year inductee to
15   the Phi Beta Kappa honor society.
16          63.     In this case, Ms. O’Brien was responsible for reviewing documents produced by
17   Google in discovery. She also assisted with other projects, including by helping to prepare
18   outlines for depositions and conducting case law research for pleadings.
19          64.     Nicholas Donofrio. Mr. Donofrio was a staff attorney based in Susman Godfrey’s
20   Houston office. Nicholas Donofrio graduated from the University of North Texas in 2016, and
21   the University of Texas School of Law in 2021.
22          65.     In this case, Mr. Donofrio was responsible for reviewing documents produced by
23   Google in discovery. He also assisted with other projects, including by helping to prepare outlines
24   for depositions and conducting case law research for pleadings. Mr. Donofrio left the firm for a
25   judicial clerkship during the pendency of this case.
26          66.     Neha Singh Zanders. Neha Zanders, currently working at Susman Godfrey LLP
27   as a Staff Attorney, received her law degree from the University of Texas School of Law in May
28                                                   16
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 1   of 2021. While in law school, she worked at the Travis County Attorney’s Office’s Appellate
 2   Division, the Texas Office of the Attorney General’s Environmental Protection Division, and the
 3   United States Department of Homeland Security’s Transnational Law Enforcement Operations
 4   Unit. After law school, she also briefly worked as an Assistant City Attorney within the Dallas
 5   City Attorney’s Office’s General Litigation Section.
 6          67.     In this case, Ms. Zanders was responsible for reviewing documents produced by
 7   Google in discovery. She also assisted with other projects, including by helping to prepare
 8   outlines for depositions and conducting case law research for pleadings.
 9          68.     Paralegals. Jianna Abalos and Vanessa Santos provided paralegal support for
10   Susman Godfrey’s attorneys throughout the case. Other paralegals provided support when Ms.
11   Abalos and Ms. Santos were unavailable, as well as during particularly busy times, including
12   Aashka Chokshi, Nic Gamiz, Nicholas Loaiza, and Stacy Schulze. Technical specialist Graciela
13   Moreno also provided support.
14                  2.      Susman Godfrey’s Attorneys’ Fees
15          69.     Unlike some firms on the class action side, Susman Godfrey represents both
16   plaintiffs and defendants. When entering into result-based fee deals, Susman Godfrey strives for
17   a substantial return on its investment in time and expenses to compensate for risks and
18   opportunity costs, including the opportunity to work on flat fee or hourly billing work that
19   provides a steady income stream. Susman Godfrey litigated this case entirely on a contingent fee
20   basis expecting to receive a risk enhancement if successful.
21          70.     The schedule below contains a summary of the time spent by Susman Godfrey
22   attorneys and professional support staff on this case, and the firm’s lodestar calculation using
23   2024 billing rates or equivalent 2024 billing rates for an attorney who left the firm prior to 2024.
24   All counsel and staff, including myself, keep contemporaneous and reliable time records. This
25   schedule was prepared from those contemporaneous time records. Plaintiffs produced those
26   detailed time records to Google on April 9, 2024, for time records through February 29, 2024.
27   Plaintiffs on April 23 provided updated records to Google. Plaintiffs are submitting the same
28                                                  17
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 1   detailed time records to this Court with this filing, for in camera review, reflecting time through
 2   March 31, 2024.
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17           71.     The hours reflected above are reasonable given the complexity, novelty, and
18   length of the litigation and the significant volume of discovery required. Given the claims
19   asserted, the Plaintiffs’ theory of liability, and the requisite fact and expert discovery needed to
20   prove Plaintiffs’ claims regardless of the type of relief sought, the lack of a damages class made
21   no difference to the work Susman Godfrey needed to do (and did) on behalf of the classes. With
22   no guarantee of recovering any of its fees or costs, Susman Godfrey made every effort to staff
23   and litigate this case as efficiently as possible.
24           72.     The hourly rates reflected above are the firm’s standard hourly rates. Fee-paying
25   clients pay these rates for hourly work.
26           73.     Attached as Exhibit 3 to the concurrently filed Declaration of Mark Mao is a
27   copy of excerpts from the 2023 Wolters Kluwer Real Rate Report, which I understand to be the
28                                                18
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 1   most recent year for which this publication is available. The report summarizes prevailing market
 2   rates for legal services in 2023 in San Francisco. The Third Quartile rates for legal services were
 3   $1,124 for partners. Nearly all Susman Godfrey partners included in this Motion have lower
 4   hourly rates. The few exceptions are justified based on these lawyers’ considerable experience
 5   and expertise. Moreover, these lawyers spent fewer time on the case than other lawyers on the
 6   Class Counsel team.
 7           74.     The hourly rate for Bill Carmody, $2,500, is reasonable in light of his stature as
 8   one of the nation’s leading trial lawyers and the exceedingly complex nature of this litigation.
 9   See supra Section 1 (summarizing Mr. Carmody’s experience and accomplishments). Mr.
10   Carmody’s investment of time in this case time is also considerably lower than other members
11   of the Class Counsel team, as he primarily focused on overseeing overall case strategy, trial
12   preparation strategy, and settlement.
13           75.     The hourly rate for Marc Seltzer, $2,200, is also reasonable in light of his stature
14   as one of the nation’s leading class action lawyers. See supra Section 1 (summarizing Mr.
15   Seltzer’s experience and accomplishments). Mr. Seltzer’s investment of time was also
16   particularly minimal, as he focused on providing guidance to the Class Counsel team at key
17   inflection points throughout the case.
18           76.     The hourly rate for Shawn Rabin, $,1700, is also reasonable in light of his stature
19   as one of the nation’s top trial lawyers. See supra Section 1 (summarizing Mr. Rabin’s experience
20   and accomplishments). Mr. Rabin’s investment of time in this case is also relatively low
21   compared to other members of the Class Counsel team, as his efforts focused on overseeing case
22   strategy, particularly at the outset of the case.
23                   3.      Susman Godfrey’s Costs
24           77.     As shown in the below schedule, Susman Godfrey advanced a total of
25   $191,427.51 in un-reimbursed expenses, without any guarantee of recoupment. These expenses
26   were reasonably necessary for the prosecution of this case, and they are of the type Susman
27

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 1   Godfrey normally incurs in litigation. These expenses are typically paid by Susman Godfrey’s
 2   fee-paying clients.
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19          78.     The firm has maintained reliable, individual records substantiating these costs,
20   and this schedule was prepared from those records. As with fees, Plaintiffs have submitted those
21   records to Google in advance of filing this Motion, and Plaintiffs are submitting them to this
22   Court with this filing, for in camera review. This schedule reflects costs through March 31, 2024.
23          79.     A few clarifications are important. The firm’s hotel reimbursement policy for the
24   majority of this case included a maximum per-night base rate of $400 for New York, Washington
25   DC, Los Angeles, and San Francisco, and $350 for all other locations. 3 Executive Committee
26
     3
       The per-night maximum for New York, Los Angeles, Washington, and San Francisco was
27   increased to $500 on October 30, 2023.
28                                                 20
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 1   approval is required for any exceptions. Similarly, absent an exceptional circumstance and
 2   Executive Committee approval, attorney airfare should be limited to refundable, economy
 3   airfare. For flights in excess of two hours, economy plus / premium economy fares are permitted.
 4          80.     For this case, at no point did any Susman Godfrey attorney or professional seek
 5   Executive Committee approval for an exception to these policies. Susman Godfrey attorneys
 6   sometimes elected to stay in hotels that charged more than $400 per night, but in all such cases,
 7   the firm is not seeking reimbursement for any amounts above the firm’s policy. Similarly, while
 8   some attorneys may have elected to fly first class for case-related travel, they did so at their own
 9   expense, personally paying the difference between an economy fare and the first-class price. For
10   such airfare, Susman Godfrey only seeks reimbursement for the economy portion of the fare.
11          81.     Finally, these costs do not include Susman Godfrey’s substantial contributions to
12   Class Counsel’s litigation fund, which was administered by Boies Schiller. I understand that my
13   co-counsel James Lee from Boies Schiller will prepare a declaration detailing the costs paid by
14   that joint fund, including expert fees, Special Master fees, mediator fees, and mock trial fees.
15          82.     I declare under penalty of perjury under the laws of the United States of America
16   that the foregoing is true and correct.
17
     Dated: April 23, 2024
18
                                                   /s/ Bill Carmody
19                                                 Bill Carmody
20                                                 bcarmody@susmangodfrey.com
                                                   SUSMAN GODFREY L.L.P.
21                                                 One Manhattan West, 50th Floor
                                                   New York, NY 10001
22                                                 Tel: (212) 336-8330
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